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EXHIBIT 1
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Exhibit 1

 

BOARD

December 21. 2012

 

 

HIGHWAY

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Exhibit 1

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Appendices

 

 

 

 
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Exhibit 1
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Exhibit 1

 

Development of Railroad Business
¢ Burlington Northern Santa Fe Railroad (BNSF)
BNSF wants to award al annual natonwide contract for vaffic contral services,
replacing local service arrangements, Bids must be submitted by January 31,
2013. We helped BASF develog the RFP.
VWe anticipate that the wark would begin in March 2013, with estimated annual
revenues of S5M - $10M.

Jin order to successfully execute this contract, we must establish an infrastructure
~ hire Traffic Control professionals, develop a@ network of temporary flaggers. and
stage equipment in many of the BNSF stafes (vest of the Mississippi) -.- and we
must spend an initial $1.7 in capex to execute the anticipated work,

: 08% Railroad :

OSX ie conducting a bil process for paving within its rail network, primarily east
of the Mississippi River.

HT is submitting Traffic Control prices to the paving companies for the states of
Florida. linens. Indiana arul New Jersey. Estimated annual incremental revenue
ig expected to approach $1M at 35% margins. We're bidding against 4 other
Traffie Control campantes, buCorly 7 in Florida (RoadSafe),

     

 

 

 

 

 

 
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Exhibit 1

 

 

 

AOP and Strategic Process for 2013-2015

i We're conducting detoilad Branch strategy teviews. in December, and will conclude the
first week of January and then will prepare 2013-2015 projections by Branch,
Vie expect te present the AOP and shatagy to the Board on February 15,
We continue to tain and develop our Branch tearns to adapt a marketing perspective
disciptine stil fuzzy to mary of our Branches. Most of our Branches have generated
tevenue (his storieatly) by biddi 3 DOT projects. and have neglected the much higher Daily

tal and W2P ¢ 3 ships drive success. vs, estimating and bidding
skills. A gosd exarnple is Fert Vyerth. in 2008 they had $1.1 of W2P eales ($336k of
magi), dad the then HT Operations Man vanled te fosous on Pavement
Marking... result ig in 2012, WZP revenue is SACK and WZ margin is $31.
: Dating the strategy process, the Branches must also prepare the 2013-2015 GAP

egy deesat resull in accent. etuais, than the Branches

to achieve acceptable suporiar ‘etarn EBITDA as a % of
a nodified)
Conclusions lus for

Corpus Christ cant achive acceptable retains ever the 2013-2015 peed because of
the latge capex renuired. As 4. Garpus Wall exit the pavement marking business

md we exe San Antone te at ieit geographical market.

: villa Park w { antly downsize their Traffic Gantrol (TC3 Contract facus-to
sauiheastern VW. it-and instead focus on Dady Rentals and WZP. Chicage’s TC
Corttact market is satura wih cor} s resulting ms margin in the low teens,
whereas the conipetitors ara not as weil po: tioned aa HT to fuither penetrate the Dady
Rental market.

    

 
   
 
 

     
 

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Workers Compensation (WC") Reclassification of Salary Categories by
Liberty Insurance
Prior mart
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d Traffic Contin inatalliaborars and drivers s
lagging’), resulting in a significantly lower WC

 

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» The apprapate classiicahon is “sign installation, maintenance, repalz temeval or raplacement
ard divers’. HT paid signiicantly lower premiums (in 2612 and ptiar years} because they uscd

    

 

was $990k. Hovvever, such

the Police Flagging classification, latal WC Premiann for 204
lagging Glassdication assumed fewer

Glassiication drove up aur MOD factor because the Petice
ofaimes than the Tralfio Contal dassification.

. Recently, Ubery Insurance challenged HT’s classification, and such reclasslfic

Sur premiuns by $1.5M for the current policy year anding February 28,
an independent insurance expert that substarlidly agreed with Liberty's conclusions.

2Gt Liberty to require us ho pay an additional $41.9M in premiuns neat sumone. if ywe're
jequired lo pay this amount, yeoll negotiate a payment plan, fn addition, we expect Liberty wall
Increase our Workers Compensation premuims by an addlional $1.2M for the new policy year
ihal bagins March 1, 2079; resulting in a total premium of approximately $1.9 for the now
policy year.

© The bidding impheations vary by slate, aad the incremental workers comp Increasos (par labor
dolkir for Traffic Control and Permanent lostalkition employees) wall cange from 18.5% Crain
34% to 24.9% per labar dollar) in Hinois to 2.8% Urom 2.7% to 5.5% per isbor datlary ia New
Jersey, The largest ubsolute daltar in se (oul of the $4,.3M) is Minnasola aad the increase
approumates 2325k, follayved by Hanes af $265k,

 

 

  

  
 
   
 

 

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Exhibit 1
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Exhibit 1

         
  

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Exhibit 1

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Last 30 Days - Financial Bridge November Forecast to Actual

 

 

 

 

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Exhibit 1

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Last 30 Days - Financial Bridge NovemberYTD - AOPto Actual

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Exhibit 1

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Exhibit 1

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Exhibit 4

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Forecast Change Analysis ~ December 2012

 

 

 

 

Exhibit 1

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Exhibit 1

 

Forecast Change Arilysia - Full Year 2012

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Exhibit 1

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Exhibit 4

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Exhibit 1

 

 

 

  

 

   

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Exhibit 1

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Exhibit 1

 

   
 
  

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Exhibit 1

       

 

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Exhibit 1

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Exhibit 1

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Exhibit 1

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Exhibit 1

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Exhibit 4

       

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Exhibit 1

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Exhibit 1

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Revenue and Direct Gross Margin by LOB

 

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Exhibit 1

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Exhibit 1

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2013 Board Meeting Calendar

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Exhibit 1

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